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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

MARCIA DAY DONDIEGO, et al.,                       :
              Plaintiffs,                          :
                                                   :
                    v.                             :      Civil No. 5:22-cv-02111-JMG
                                                   :
LEHIGH COUNTY BOARD OF ELECTIONS,                  :
et al.,                                            :
                  Defendants.                      :
__________________________________________

                                           ORDER

        AND NOW, this 7th day of June, 2022, upon consideration of the Motion to Intervene

 filed by Jarrett Coleman (ECF No. 30), it is hereby ORDERED as follows:

        1. The Motion (ECF No. 30) is GRANTED.

        2. Jarrett Coleman is hereby granted intervenor status as a Defendant in this case.

        3. The Clerk is directed to file the Answer to Complaint attached as Exhibit 1 to the

           Motion (ECF No. 30-1).


                                                   BY THE COURT:



                                                   /s/ John M. Gallagher
                                                   JOHN M. GALLAGHER
                                                   United States District Court Judge
